          Case 1:17-cr-00173-DAD-BAM Document 152 Filed 07/03/19 Page 1 of 2


 1 MCGREGOR W. SCOTT
   United States Attorney
 2 VINCENZA RABENN
   Assistant United States Attorney
 3 2500 Tulare Street, Suite 4401
   Fresno, CA 93721
 4 Telephone: (559) 497-4000
   Facsimile: (559) 497-4099
 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 17-CR-00173 DAD
12                                Plaintiff,            STIPULATION REGARDING CONTINUANCE OF
                                                        SENTENCING HEARING; ORDER
13                          v.
                                                        DATE: July 8, 2019
14   DARCI WIGDERSON,                                   TIME: 10:00 a.m.
                                                        COURT: Hon. Dale A. Drozd
15                               Defendant.
16

17                                              STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

19 through defendant’s counsel of record, hereby stipulate as follows:

20          1.     By previous order, this matter is currently set for sentencing on July 8 2019.

21          2.     Due to unforeseen issues, the U.S. Probation draft presentence investigation report was

22 not released until June 27, 2019. The final report is still pending. Counsel for the government and the

23 defense are now requesting that the sentencing be rescheduled so that the parties have adequate time to

24 review the sentencing calculations and prepare informal and formal objections. The parties have

25 conferred and are available for sentencing on August 19, 2019.

26          3.     The parties have agreed to the following schedule, and request that the Court order the

27 following:

28                 a)      The sentencing hearing currently scheduled for July 8, 2019 should be

                                                        1
30
           Case 1:17-cr-00173-DAD-BAM Document 152 Filed 07/03/19 Page 2 of 2


 1          rescheduled for August 19 at 10:00 a.m.;

 2                  b)      The Presentence Referral Schedule should be amended, and the deadlines for

 3          changed to reflect that the informal objections due on July 22, 2019, the final Presentence Report

 4          is due on July 29, 2019 and formal objections due on August 5, 2019.

 5

 6          IT IS SO STIPULATED.

 7                                                       Respectfully submitted,

 8
      Dated: July 3, 2019                                    MCGREGOR W. SCOTT
 9                                                           United States Attorney
10
                                                             /s/ VINCENZA RABENN
11                                                           VINCENZA RABENN
                                                             Assistant United States Attorney
12

13
      Dated: July 3, 2019                                    /s/ ROGER WILSON
14                                                           ROGER WILSON
15                                                           Counsel for Defendant
                                                             DARCI WIGDERSON
16

17

18
                                                     ORDER
19
            IT IS HEREBY ORDERED that the sentencing hearing be continued to August 19, 2019, and
20
     the deadlines for the PSR are informal objections due on July 22, 2019, the final Presentence Report is
21
     due on July 29, 2019 and formal objections due on August 5, 2019.
22
     IT IS SO ORDERED.
23
        Dated:     July 3, 2019
24                                                     UNITED STATES DISTRICT JUDGE
25

26
27

28

                                                         2
30
